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                               IN THE UNITED STATES DISTRICT COURT
                                   FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,

                         Plaintiffs,                                         8:14CR225

        vs.
                                                                              ORDER
ARYAN PERRY,

                         Defendant.


        Defendant Aryan Perry appeared before the court on June 7, 2017 on a Petition for Offender Under
Supervision [258].     The defendant was represented by Assistant Federal Public Defender Richard H.
McWilliams, and the United States was represented by Assistant U.S. Attorney Kimberly C. Bunjer.
Through his counsel, the defendant waived his right to a probable cause hearing on the Petition for Offender
Under Supervision [258] pursuant to Fed. R. Crim. P. 32.1(a)(1). The government moved for detention. A
detention hearing was held. Since it is the defendant’s burden under 18 U.S.C. § 3143 to establish by clear
and convincing evidence that he is neither a flight risk nor a danger, the court finds the defendant has failed
to carry his burden and that he should be detained pending a dispositional hearing before Chief Judge Smith
Camp.
        IT IS ORDERED:
        1.      A final dispositional hearing will be held before Chief Judge Smith Camp in Courtroom No.
2, Third Floor, Roman L. Hruska Federal Courthouse, 111 South 18th Plaza, Omaha, Nebraska, on July 27,
2017 at 10:00 a.m. Defendant must be present in person.
        2.      The defendant, Aryan Perry, is committed to the custody of the Attorney General or his
designated representative for confinement in a correctional facility;
        3.      The defendant shall be afforded a reasonable opportunity for private consultation with
defense counsel; and
        4.      Upon order of a United States court or upon request of an attorney for the government, the
person in charge of the corrections facility shall deliver defendant to the United States Marshal for the
purpose of an appearance in connection with a court proceeding.


        Dated this 8th day of June, 2017.

                                                          BY THE COURT:

                                                          s/ F.A. Gossett, III
                                                          United States Magistrate Judge
